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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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Lucio Celli,

                                   Plaintiff,                          MEMORANDUM & ORDER
                                                                        15-CV-03679 (DG) (VMS)
                 -against-

Richard Cole, et al.,
                                    Defendants.
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DIANE GUJARATI, United States District Judge:

         Pending before the Court in the above-captioned action are two motions filed by pro se

Plaintiff Lucio Celli in June 2025 (together, the “Motions”): (1) Plaintiff’s “MOTION TO

VACATE JUDGMENTS AND ORDERS UNDER RULE 60(d)(3) DUE TO FRAUD UPON

THE COURT BY JUDGE BRIAN M. COGAN for his former Clients, the UFT and Randi

Weingarten,” ECF No. 69; and (2) Plaintiff’s “MOTION FOR EVIDENTIARY HEARING

AND APPLICATION OF THE CRIME-FRAUD EXCEPTION by Dishonorable Cogan and the

UFT,” ECF No. 70. Each motion states that it is “To Pres Trump, AG Bondi, Houe Jud., Sen

Judge, Hon. Conrad, Dishon. Cogan, Hon. Crona, and others.” See ECF No. 69 at 1; ECF No. 70

at 1.

         For the reasons set forth below, the Motions are DENIED.

                                                BACKGROUND

         Familiarity with the procedural history and background of this action – which was

commenced by Plaintiff more than ten years ago – is assumed herein. 1 As particularly relevant

here: (1) on December 27, 2016, the Clerk of Court issued the Judgment in this action, see




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    On July 2, 2025, this action was reassigned from United States District Judge Brian M. Cogan
    to the undersigned. See July 2, 2025 Order.
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Judgment, ECF No. 53 (reflecting, inter alia, denial of Plaintiff’s recusal motion; denial of

Plaintiff’s Rule 60 motion; grant of Defendants’ motion to dismiss; and dismissal of Plaintiff’s

complaint with prejudice); and (2) on January 12, 2018, the United States Court of Appeals for

the Second Circuit issued its Mandate, see Mandate, ECF No. 64 (stating, inter alia, that “[t]he

District Court did not abuse its discretion in denying the recusal motion;” that “[t]he District

Court also did not abuse its discretion in dismissing [Plaintiff’s] complaint for failure to comply

with Rule 8;” that Plaintiff “has shown brazen and profane resistance to the District Court’s

instructions, demonstrating that further efforts to convince [Plaintiff] to file a reasonable

complaint would be futile and making dismissal of his complaint without further leave to amend

appropriate;” and that Plaintiff’s “appeal is frivolous”).

                                           DISCUSSION

         The Court liberally construes the Motions in light of Plaintiff’s pro se status. See

Erickson v. Pardus, 551 U.S. 89, 94 (2007). Even liberally construed, however, the Motions

must be denied. 2

         As an initial matter, the Motions lack clarity. See generally ECF Nos. 69, 70. To the

extent that the Motions seek to relitigate matters expressly decided by the Second Circuit or

issues impliedly resolved by the Mandate, the Motions must be denied. See Norton v. Town of

Islip, No. 04-CV-03079, 2022 WL 21305877, at *8 (E.D.N.Y. Sept. 28, 2022) (discussing

mandate rule and citing United States v. Sawyer, 907 F.3d 121, 125 (2d Cir. 2018), In re Coudert

Bros. LLP, 809 F.3d 94, 99 (2d Cir. 2015), and Yick Man Mui v. United States, 614 F.3d 50, 53

(2d Cir. 2010)), aff’d, No. 22-2797, 2023 WL 7130486 (2d Cir. Oct. 30, 2023). To the extent




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    In light of the Court’s determination that the Motions must be denied, the Court does not
    require any response to the Motions.


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that the Motions seek to do otherwise, the Motions nevertheless must be denied as the Court

concludes upon consideration of the Motions, the record to date, and the applicable legal

standards that none of the relief sought is warranted here. Indeed, the Motions appear to be

frivolous. See generally ECF No. 69 (asserting, inter alia, that “Cogan had AUSAs of EDNY

conceal his criminal conduct of wage theft for his former clients;” that “Judge Cronan – as an

AUSA – told me what Judge Cogan did to me would constitute a crime under 18 USC §371 and

Fraud Upon the Court;” that “Schumer had his judges conceal the conduct of Randi and Cogan;”

that “Judge Engelmayer’s role in this matter also raises significant questions;” and that

“borderline IQ students knew and understood what 80 AUSAs told me”); ECF No. 70 (asserting,

inter alia, that Judge Lehrburger, “in the R&R,” “concealed or misrepresented” certain

information).

                                         CONCLUSION

       As set forth above, the Motions, ECF Nos. 69 and 70, are DENIED.

       The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this Order

would not be taken in good faith and therefore denies in forma pauperis status for the purpose of

an appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       The Clerk of Court is directed to mail a copy of this Order to Plaintiff.

       SO ORDERED.

                                                     /s/ Diane Gujarati           __
                                                     DIANE GUJARATI
                                                     United States District Judge

Dated: July 10, 2025
       Brooklyn, New York




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